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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                            CR 15–37–BU–DLC–2

                      Plaintiff,                              ORDER

        vs.

 NEIL DEAN NEARY,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on June 2, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Neil Dean Neary’s guilty plea

after Neary appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered a plea of guilty to one count of possession with intent to distribute

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methamphetamine in violation of 21 U.S.C. § 841(a)(1) (Count II) as set forth in

the Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I and IV, and V of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

174), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Neil Dean Neary’s motion to change

plea (Doc. 162) is GRANTED and Neil Dean Neary is adjudged guilty as charged

in Count II of the Indictment.

      DATED this 17th day of June, 2016.




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